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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
vs.                                            ) Case No.: 4:12-cr-303 ERW (TCM)
                                               )
DEREK DOHERTY,                                 )
                                               )
       Defendant.                              )

      DEFENDANT’S MOTION TO DISCLOSE EXISTENCE OF SUBSTANTIAL
          PROMISES OF IMMUNITY, LENIENCY OR PREFERENTIAL
           TREATMENT AND COMBINED MEMORANDUM OF LAW

       COMES NOW, Defendant, Derek Doherty (“Defendant”), by and through counsel, and

moves this Court for the entry of an Order requiring the Government to disclose to Defendant’s

attorney, the following:

       1.      The existence and substance, and the manner of execution of fulfillment, or any

promises, agreements, understandings, or arrangements either verbal or written between the

Government and any prosecution witness or informant or cooperating Defendant or individual or

his or her attorneys or representatives wherein the Government has agreed:

               (a)     Not to prosecute the witness for any crime or crimes;

               (b)     To provide a formal grant of statutory immunity or an informal grant of

       immunity in connection with any testimony given;

               (c)     To recommend leniency in sentencing for any crime or crimes for which

       he/she is convicted or charged;

               (d)     To recommend a particular sentence for any crime or crimes for which


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       he/she is convicted or charged;

               (e)     To dismiss any counts of an indictment pending against a Government

       witness or informant or any member of his family;

               (f)     To compromise or diminish or to recommend to compromise diminution

       of any federal, state or local taxes which he/she is claimed to owe; and

               (g)     To make any other recommendation of benefit or to give any other

       considerations to the informant or any member of his/her family, such as entry into the

       Federal Witness Protection Program or payments of monies for information.

                                   MEMORANDUM OF LAW

       Courts have consistently held that in attempting to establish motives or biases of

Government witnesses, a Defendant may elicit evidence showing that the Government has made

explicit or implied promises of immunity from prosecution, leniency in sentencing, or other

preferential treatment in return for the witnesses’ or informant’s cooperation and agreement to

testify for the prosecution. See United States v. Partin, 493 F.2d 750, 759 (5th Cir. 1974);

United States v. Campbell, 426 F.2d 547, 549 (2nd Cir. 1970); Hughes v. United States, 427 F.2d

66, 68 (9th Cir. 1970). The Supreme Court of the United States had adopted a position requiring

expanded disclosure of promises of immunity, leniency and preferential treatment to Government

witnesses and has imposed upon the Government the burden of insuring that the disclosure of

such promises is made to a Defendant. See Giglio v. United States, 405 U.S. 150, 154 (1972).

The Defendant submits that the holding in Giglio requires the type of disclosures that he now

seeks. While it is true that Giglio does not appear to establish a particular time for disclosure of

promises of immunity, leniency or preferential treatment or the implementation thereof, the


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Defendant requests that such disclosures be made to him now. This must be considered both

reasonable and appropriate inasmuch as the manner of execution and fulfillment of the various

commitments and promises made to these Government witnesses may have been communicated

only to their attorneys or representatives. If this is so, the Defendant will not be able to elicit the

information during cross-examination of these individuals and they should therefore be given a

reasonable opportunity prior to trial to locate and interview the persons who possess this

information. If the substance of such promises and agreements has not been accurately and fully

communicated to the witness, cross-examination will not be an adequate device by which the

Defendant can elicit information to which he is clearly entitled. Again, Defendant is clearly

entitled to such information. Such information can only be obtained if the Defendant is given

some factual basis on which to seek its procurement and a reasonable time prior to trial in which

to do so.

        WHEREFORE, Defendant moves that this Honorable Court grant this motion and order

the Government to comply forthwith, and for such other and further relief that the Court deems

just and proper.


                                                Respectfully submitted,

                                                ROSENBLUM, SCHWARTZ, ROGERS & GLASS, PC

                                      By:       /s/ Adam D. Fein
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2013, the foregoing was electronically filed with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon Ms.
Dianna Collins, Assistant United States Attorney.




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